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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

In re:                                           §   Chapter 7
                                                 §
ALEXANDER E. JONES                               §   Case No. 22-33553
                                                 §
         Debtor.                                 §


     ORDER AUTHORIZING PAYMENT OF SUPPLEMENTAL FINAL FEE
 APPLICATION OF RACHEL KENNERLY, LLC AS TAX ACCOUNTANT TO THE
DEBTOR FOR THE PERIOD FROM DECEMBER 06, 2022, THROUGH JUNE 14, 2024
         ON THIS DATE this Court considered the Supplemental Final Fee Application of Rachel

Kennerly, LLC (“Kennerly”) as Tax Accountant to the Debtor for Allowance and Payment of Fees

and Expenses for the Period from December 06, 2022 Through June 14, 2024 (the “Application”).

The Court finds that it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334(b);

that this is a core proceeding pursuant to 28 U.S.C. § 157(b), and that the venue of this proceeding

in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The Court has considered the

Application and any objections prior to the signing of this order.

Accordingly, IT IS HEREBY ORDERED THAT:
1.       The Application is GRANTED as set forth therein.

2.       Kennerly is awarded $33,040.00 for professional fees and services provided during the

Application Period of December 06, 2022, through June 14, 2024.

3.       Kennerly is awarded $0.00 for reimbursement of actual and necessary expenses incurred

by Kennerly during the Application Period.

4.       Notice of the Application provided by Kennerly is deemed to be good and sufficient notice

of the Application, and the requirements of the Local Rules are satisfied by the contents of the

Application.
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5.       The Court retains jurisdiction with respect to all matters arising from or related to the

implementation of this Order.

         IT IS FURTHER ORDERED that, notwithstanding any Bankruptcy Rule to the contrary,

the terms and conditions of this Order shall be immediately effective and enforceable upon its

entry.



         Dated: ___________, 2024             _______________________________________
                                              CHRISTOPHER M. LOPEZ
                                              UNITED STATES BANKRUPTCY JUDGE




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